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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                                   ORDER TO UNSEAL
                 - against -
                                                                   CR 06-0486 (FB) (JMA)
JAVIER ALEXANDER
ALVAREZ MONROY, et al.,
                                    Defendants.
----------------------------------------------------------X

JAMES ORENSTEIN, Magistrate Judge:

        On July 19, 2006, I denied as moot an application made under seal by defendant Cheryl

Brenton ("Brenton") for an order directing the United States Marshals Serivce ("USMS") to

provide her with transportation, lodging, and sustenance in connection with her anticipated

appearance in court on July 26, 2006. See Docket Entry 46 (sealed order). Because the

defendant asked, without explanation, that her application and my order upon it be sealed, I

issued the order explaining my denial of the application under seal. Id. However, I noted at the

time that the record then before me provided an insufficient basis on which to maintain the

application and the order under seal and directed any party wishing to have the documents remain

under seal after July 26, 2006, to make an application before that date explaining the need for

continued secrecy. Id. That deadline has passed and I have not received any such application

from any party. I therefore respectfully direct the Clerk to unseal both the original application to

me, Docket Entry 45, and my subsequent order denying that application, Docket Entry 46.

        SO ORDERED.

Dated: Brooklyn, New York
       July 31, 2006
                                                                   /s/ James Orenstein
                                                                   JAMES ORENSTEIN
                                                                   U.S. Magistrate Judge
